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 NO:     H14H-CR17-0692973-S            :   SUPERIOR COURT
 STATE OF CONNECTICUT                   :   G.A. #14

 v.                                     :   AT HARTFORD, CONNECTICUT
 NICOLE CHASE                           :   NOVEMBER 8, 2017



                          *T R A N S C R I P T*



               BEFORE THE HONORABLE TAMMY T. NGUYEN, JUDGE




 A P P E A R A N C E S:



       Representing the State of Connecticut:
           ATTORNEY ROBERT DIAZ, ASA
           Assistant State’s Attorney
           101 Lafayette Street
           Hartford, Connecticut




                                        Recorded and Transcribed By:
                                        Deborah B. Quigley
                                        Court Recording Monitor
                                        101 Lafayette Street
                                        Hartford, Connecticut 06106




                                                           EXHIBIT Y
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                                                                         1


1                  (Whereupon Court was already in session)

2

3                  ATTY. DIAZ:    Nicole Chase on that same docket on

4            line 8 was diverted.      There’s been no further

5            problems.    Enter a nolle for Miss Chase on line 8.

6                  THE COURT:    Nolle noted.

7

8                     (The matter was concluded)




                                                             EXHIBIT Y
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 v.                                  :   AT HARTFORD, CONNECTICUT
 NICOLE CHASE                        :   NOVEMBER 8, 2017




                        C E R T I F I C A T I O N




         I hereby certify the electronic version is a true and
 correct transcription of the audio recording of the above-
 referenced case, heard in Superior Court, G.A. #14, Hartford,
 Connecticut, before the Honorable Tammy T. Nguyen, Judge, on the

 8th day of November, 2017.



         Dated this 12th day of June, 2018 in Hartford,

 Connecticut.




                                     _______________________________
                                     Deborah B. Quigley
                                     Court Recording Monitor




                                                         EXHIBIT Y
